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2    MIA CRAGER, #300172
     Assistant Federal Defender
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4    Tel: (916) 498-5700
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5    Mia_Crager@fd.org
6    Attorney for Defendant
     JONATHAN PATRICK TURRENTINE
7
8                             IN THE UNITED STATES DISTRICT COURT
9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
      UNITED STATES OF AMERICA,   )                  Case No. 2:21-cr-00205-TLN
11                                )
      Plaintiff,                  )                  STIPULATION AND [PROPSED] ORDER
12                                )                  TO CONTINUE STATUS CONFERENCE
      vs.                         )
13                                )
      JONATHAN PATRICK TURRENTINE )
14                                )                  Date: August 4, 2022
                                  )                  Time: 9:30 a.m.
15    Defendant.                  )                  Judge: Troy L. Nunley
                                  )
16
17          IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States

18   Attorney through James Conolly, Assistant United States Attorney, attorneys for Plaintiff, and

19   Heather Williams, Federal Defender, through Assistant Federal Defender Mia Crager attorneys

20   for Jonathan Patrick Turrentine, that the status hearing be continued to October 6, 2022, and that

21   the Court exclude time pursuant to the Speedy Trial Act.

22          Defense counsel recently received discovery and desires additional time to review it,
23   consult with their client, to evaluate potential defenses, and to otherwise prepare for trial.

24          Defense counsel believes that failure to grant the above-requested continuance would

25   deny her the reasonable time necessary for effective preparation, taking into account the exercise

26   of due diligence and the difficulties that the COVID-19 pandemic creates for effective client

27   preparation and consultation.

28          The government does not object to the continuance.

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1           Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
2    excluded from this order’s date through and including October 6, 2022, as previously ordered,
3    pursuant to 18 U.S.C. §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order
4    479, Local Code T4 based upon continuity of counsel and defense preparation.
5
     Dated: August 2, 2022
6                                                HEATHER E. WILLIAMS
                                                 Federal Defender
7
8                                                /s/ Mia Crager
                                                 MIA CRAGER
9                                                Assistant Federal Defender
                                                 Attorney for Defendant
10                                               JONATHAN PATRICK TURRENTINE

11
     Dated: August 2, 2022
12
                                                 PHILLIP A. TALBERT
13                                               United States Attorney

14
                                                 /s/ James Conolly
15                                               JAMES CONOLLY
                                                 Assistant United States Attorney
16                                               Attorney for Plaintiff

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1                                                 ORDER
2           IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
4    its order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence. The Court finds the ends of justice are served by granting the requested
7    continuance and outweigh the best interests of the public and defendant in a speedy trial.
8           The Court orders the time from the date the parties stipulated, up to and including
9    October 6, 2022, shall be excluded from computation of time within which the trial of this case
10   must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A)
11   and(B)(iv) [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It
12   is further ordered the August 4, 2022 status conference shall be continued until October 6,
13   2022, at 9:30 a.m.
14
15   Dated: August ____, 2022                               ________________________________
16                                                          Hon. Troy L. Nunley
                                                            United States District Judge
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